Case 24-12132   Doc 5   Filed 08/19/24 Entered 08/19/24 21:43:04   Desc Main
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                  Case 24-12132              Doc 5         Filed 08/19/24 Entered 08/19/24 21:43:04                       Desc Main
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 Fill in this information to identify the case:

  Debtor 1:                 Sharon               D                    Veazley
                           First Name            Middle Name         Last Name

  Debtor 2:
  (Spouse, if filing)      First Name            Middle Name         Last Name

  United States Bankruptcy Court for the:               Northern             District of     Illinois

  Case Number:
  (if known)

  Chapter filing under:                                                                ❑ Chapter 7
                                                                                       ❑ Chapter 11
                                                                                       ❑ Chapter 12
                                                                                       ✔ Chapter 13
                                                                                       ❑


Order Approving Payment of Filing Fee in Installments

After considering the Application for Individuals to Pay the Filing Fee in Installments (Official Form 103A), the court orders that:


✔ The debtor(s) may pay the filing fee in installments on the terms proposed in the application.
     The debtor(s) must pay the filing fee according to the following terms:




                               You must pay...         On or before this date...

                               $
                                                       Month / day / year

                               $
                                                       Month / day / year

                               $
                                                       Month / day / year

                           + $
                                                       Month / day / year

       Total                   $




      Until the filing fee is paid in full, the debtor(s) must not make any additional payment or transfer any additional property to an attorney or to
      anyone else for services in connection with this case.




                                                        By the court:
                        Month / day / year                                  United States Bankruptcy Judge
